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                           FOR PUBLICATION

          UNITED STATES COURT OF APPEALS
               FOR THE NINTH CIRCUIT

        JOVANNA EDGE, an individual; LEAH               No. 17-36038
        HUMPHREY, an individual; LIBERTY
        ZISKA, an individual; AMELIA                      D.C. No.
        POWELL, an individual; NATALIE                 2:17-cv-01361-
        BJERKE, an individual; MATTESON                     MJP
        HERNANDEZ, an individual,
                         Plaintiffs-Appellees,
                                                          OPINION
                            v.

        CITY OF EVERETT, a Washington
        municipal corporation,
                       Defendant-Appellant.

               Appeal from the United States District Court
                 for the Western District of Washington
               Marsha J. Pechman, District Judge, Presiding

                  Argued and Submitted February 4, 2019
                           Seattle, Washington

                                 Filed July 3, 2019

          Before: Sandra S. Ikuta and Morgan Christen, Circuit
               Judges, and Jennifer Choe-Groves,* Judge.

                         Opinion by Judge Christen

           *
            The Honorable Jennifer Choe-Groves, Judge for the United States
       Court of International Trade, sitting by designation.
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                                  SUMMARY**


                Constitutional Law / Preliminary Injunction

           The panel vacated the district court’s preliminary
       injunction against enforcement of the City of Everett,
       Washington’s Dress Code Ordinance—requiring that the
       dress of employees, owners, and operators of Quick-Service
       facilities cover “minimum body areas”—and the amendments
       to the Lewd Conduct Ordinances.

           Plaintiffs are owners and employees of a bikini barista
       stand in Everett, Washington.

           The panel held that plaintiffs did not show a likelihood of
       success on the merits of their two Fourteenth Amendment
       void-for-vagueness challenges, nor on their First Amendment
       free expression claim.

           Concerning the Lewd Conduct Ordinances, which
       expanded the definition of “lewd act” and also created the
       misdemeanor offense of Facilitating Lewd Conduct, the panel
       held that the activity the Lewd Contact Amendments
       prohibited was reasonably ascertainable to a person of
       ordinary intelligence. The panel also held that the
       Amendments were not amenable to unchecked law
       enforcement discretion. The panel concluded that the district
       court abused its discretion by holding that the plaintiffs were
       likely to succeed on the merits of their void-for-vagueness
       challenge to the Amendments.

           **
             This summary constitutes no part of the opinion of the court. It has
       been prepared by court staff for the convenience of the reader.
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           Concerning enjoinment of the enforcement of the Dress
       Code Ordinance, the panel held that the vagueness principles
       governing the panel’s analysis of the Lewd Conduct
       Amendments applied with equal force to the Dress Code
       Ordinance. The panel concluded that the vagueness doctrine
       did not warrant an injunction prohibiting enforcement of the
       Dress Code Ordinance. As to plaintiffs’ First Amendment
       contention that the act of wearing almost no clothing while
       serving coffee in a retail establishment constituted speech, the
       panel held that plaintiffs had not demonstrated a “great
       likelihood” that their intended messages related to
       empowerment and confidence would be understood by those
       who view them. The panel concluded that the mode of dress
       at issue in this case was not sufficiently communicative to
       merit First Amendment protection. The panel also held that
       the district court’s application of intermediate scrutiny under
       the “secondary effects” line of authority was inapposite, and
       the City need only demonstrate that the Dress Code
       Ordinance promoted a substantial government interest that
       would be achieved less effectively absent the regulation.
       Because the district court did not analyze the ordinance under
       this framework, the panel vacated the preliminary injunction
       and remanded for further proceedings.


                                COUNSEL

       Ramsey Everett Ramerman (argued), City of Everett,
       Everett, Washington; Sarah C. Johnson and Matthew J.
       Segal, Pacifica Law Group LLP, Seattle, Washington; for
       Defendant-Appellant.
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       Melinda W. Ebelhar (argued) and Gerald M. Serlin,
       Benedon & Serlin LLP, Woodland Hills, California, for
       Plaintiffs-Appellees.


                                OPINION

       CHRISTEN, Circuit Judge:

           “Bikini barista” stands are drive-through businesses
       where scantily clad employees sell coffee and other non-
       alcoholic beverages. In Everett, Washington, a police
       investigation confirmed complaints that some baristas were
       engaging in lewd conduct at these establishments, that some
       baristas had been victimized by patrons, and that other crimes
       were associated with the stands. The City responded by
       adopting Everett Municipal Code (EMC) § 5.132.010–060
       (the Dress Code Ordinance) requiring that the dress of
       employees, owners, and operators of Quick-Service Facilities
       cover “minimum body areas.” Separately, the City also
       broadened its lewd conduct misdemeanor by expanding the
       Everett Municipal Code’s definition of “lewd act” to include
       the public display of specific parts of the body. EMC
       § 10.24.010. The City also created a new misdemeanor
       called Facilitating Lewd Conduct for those who permit, cause
       or encourage lewd conduct. EMC § 10.24.020.

           A stand owner and several baristas sued the City pursuant
       to 42 U.S.C. § 1983, contending that the Dress Code
       Ordinance and the amendments to the Lewd Conduct
       Ordinances violate their First and Fourteenth Amendment
       rights. The district court granted plaintiffs’ motion for a
       preliminary injunction and enjoined enforcement of these
       provisions. The City appeals. We have jurisdiction over the
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       City’s interlocutory appeal pursuant to 28 U.S.C. § 1292.
       Because we conclude that plaintiffs did not show a likelihood
       of success on the merits of their two Fourteenth Amendment
       void-for-vagueness challenges, nor on their First Amendment
       free expression claim, we vacate the district court’s
       preliminary injunction and remand this case for further
       proceedings.

                         I. Factual Background

           Bikini barista stands have operated in and around Everett
       since at least 2009. The baristas working at these stands wear
       what they call “bikinis,” but the City describes them as
       “nearly nude employees,” and the district court made clear
       that their attire is significantly more revealing than a typical
       bikini. The district court’s finding that at least some of the
       baristas wear little more than pasties and g-strings is well-
       supported by the record.

           Beginning in summer 2009, the Everett Police
       Department (EPD) began fielding numerous citizen
       complaints related to bikini barista stands. One complainant
       asserted that she observed a female barista wearing “pasties”
       and “a thong and what appeared to be garter belts sitting
       perched in the window with her feet on the ledge[.]” The
       complainant went on to describe how a customer in a truck
       approached the window and began “groping” the barista in
       intimate areas. According to the complainant, “the next
       customer in line . . . was clearly touching his genitals through
       his clothes as he was waiting his turn.” Stuck in traffic, the
       complainant wrote that she “had to sit there w/ my 2 young
       daughters and was so disgusted[.]”
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           After receiving upwards of forty complaints, EPD
       launched an undercover investigation and documented that
       some baristas at this type of stand were openly violating the
       existing criminal code prohibiting various forms of lewd
       conduct. At the time, EMC § 10.24.010 defined lewd
       conduct to include exposure or display of one’s genitals, anus
       or any portion of the areola or nipple of the female breast, but
       EPD’s investigation revealed that some of the bikini baristas
       removed their costumes entirely. EPD also discovered that
       some baristas were not paid hourly wages and worked for tips
       only, resulting in pressure to engage in lewd acts, and that
       other baristas were paid wages but still performed lewd acts
       in exchange for large tips. Everett undercover police officers
       took a series of graphic photos documenting the extremely
       revealing nature of the baristas’ garb and instances in which
       baristas removed their tops and bottoms altogether. Officers
       also documented a wide variety of customer-barista physical
       contact. At least one bikini stand owner was convicted of
       sexually exploiting a minor after he was caught employing a
       sixteen-year old at one of the bikini stands. See State v.
       Wheeler, No. 72660-9-I, 2016 WL 1306132, at *1–3 (Wash.
       Ct. App. 2016). Another stand turned out to be a front for a
       prostitution ring, and some of the baristas, who worked in
       isolated locations late at night, reported being victims of
       sexual violence. A Snohomish County Sheriff’s Deputy was
       convicted of a criminal offense after helping an owner evade
       the City’s undercover officers in exchange for sexual favors.

           Enforcing the City’s existing lewd conduct ordinance
       required extensive use of undercover officers and proved to
       be both expensive and time consuming. The City also
       complained that policing the stands detracted from EPD’s
       efforts to address the City’s other priorities.
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           After five years of using undercover operations to
       prosecute individual offenders, EPD decided its
       “investigative approach was an ineffective and resource-
       intensive method of motivating stand owners to stop the
       illegal conduct” and it began collaborating with the City on
       a legislative fix. The City complied by enacting EMC
       §§ 5.132.010–060, a Dress Code Ordinance applicable only
       to “Quick-Service Facilities” like drive-throughs and coffee
       stands. The City also amended its criminal code to broaden
       the definition of “lewd act” and created the crime of
       Facilitating Lewd Conduct. See EMC §§ 10.24.010;
       10.24.025. Because the constitutional challenges in this case
       focus on the text and effect of these enactments, we describe
       each in some detail.

          A. The Lewd Conduct Amendments

           The Lewd Conduct Amendments expanded the definition
       of “lewd act” to include:

              An exposure or display of one’s genitals,
              anus, bottom one-half of the anal cleft, or any
              portion of the areola or nipple of the female
              breast[] or [a]n exposure of more than one-
              half of the part of the female breast located
              below the top of the areola; provided that the
              covered area shall be covered by opaque
              material and coverage shall be contiguous to
              the areola.

       EMC § 10.24.010(A)(1)–(2). An “owner, lessee, lessor,
       manager, operator, or other person in charge of a public
       place” commits the offense of Facilitating Lewd Conduct if
       that person “knowingly permits, encourages, or causes to be
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       committed lewd conduct” as defined in the ordinance. Id.
       § 10.24.025(A). Findings supporting the City’s Lewd
       Conduct Amendments state that the City “seeks to protect its
       citizens from those who profit from facilitating others to
       engage in the crime of Lewd Conduct, and so deems it
       necessary . . . to create the new crime Facilitating Lewd
       Conduct, a gross misdemeanor punishable by a maximum
       penalty of 364 days in jail and a $5,000.00 fine[.]”

           B. The Dress Code Ordinance

           The City did not hide its effort to specifically address the
       problems associated with the bikini barista stands when it
       adopted the Dress Code Ordinance. The very first factual
       finding in the enactment establishing the Dress Code stated
       that “[t]he City has seen a proliferation of crimes of a sexual
       nature occurring at bikini barista stands throughout the
       City[.]” The next paragraph memorialized the City’s
       conclusion “that the minimalistic nature of the clothing worn
       by baristas at these ‘bikini’ stands lends itself to criminal
       conduct[.]”

           The Dress Code Ordinance requires all employees,
       owners, and operators of “Quick-Service Facilities” to
       comply with a “dress requirement” mandating coverage of
       “minimum body areas.” EMC § 5.132.020(A). Minimum
       body areas are further defined as “the upper and lower body
       (breast/pectorals, stomach, back below the shoulder blades,
       buttocks, top three inches of legs below the buttocks, pubic
       area and genitals).” Id. § 5.132.020(B). The Dress Code
       Ordinance defines Quick-Service Facilities as “coffee stands,
       fast food restaurants, delis, food trucks, and coffee shops” in
       addition to all other drive-through restaurants.            Id.
       § 5.132.020(C). This ordinance prohibits owners of Quick-
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       Service Facilities from operating their businesses if any
       employee is not in full compliance with the dress
       requirement. EMC § 5.132.040(A)(1). Violations are
       deemed civil infractions. Id. To ensure that stand owners are
       motivated to enforce the dress code, the City instituted a $250
       fine for first time offenders. EMC § 5.132.040(B)(1). Repeat
       offenders face stiffer fines and risk losing their business
       licenses. EMC § 5.132.040(B)(1)–(2). In enacting these
       provisions, the City expressed its intent to “provide powerful
       tools for reducing the illegal conduct that has occurred at
       bikini barista stands in a cost-effective manner.”

                      II. Procedural Background

           Plaintiff Jovanna Edge owns Hillbilly Hotties, a bikini
       barista stand in Everett. Plaintiffs Leah Humphrey, Liberty
       Ziska, Amelia Powell, Natalie Bjerke, and Matteson
       Hernandez are, or at one time were, baristas employed at
       Hillbilly Hotties. Approximately one week after the Lewd
       Conduct Amendments and Dress Code Ordinance went into
       effect, plaintiffs filed this lawsuit alleging multiple
       constitutional violations, two of which are relevant to this
       appeal. Plaintiffs’ complaint alleges: (1) that the Dress Code
       Ordinance and the Lewd Conduct Amendments violate their
       First Amendment rights to free expression, and (2) that the
       new provisions violate the Due Process Clause because they
       are unconstitutionally vague.

           Plaintiffs’ First Amendment free expression claim asserts
       that the baristas convey messages such as “female
       empowerment,” “confiden[ce],” and “fearless body
       acceptance” by wearing bikinis while working. In support of
       their motion for a preliminary injunction, plaintiffs submitted
       declarations from several baristas explaining their views that
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        “a bikini is not a sexual message, [it’s] more a message of
        empowerment,” “we are empowered to be comfortable in our
        bodies,” “[t]he bikini sends the message that I am
        approachable,” “the message I send is freedom[,]” and “my
        employees expose messages through tattoos and scars.”1 The
        baristas assert that their choice of clothing demonstrates that
        they are “fun and more open,” and that wearing bikinis at
        work shows they are “empowered, confident, and free.”
        Plaintiff Edge, owner of Hillbilly Hotties, explained that her
        employees’ dress allows them to “tell stories of who they
        are[.]”

             Notably, in the district court and on appeal, plaintiffs
        persistently disavow that they are nude dancers or that they
        engage in erotic performances, conduct that is expressly
        protected under the First Amendment. See Barnes v. Glen
        Theatre, Inc., 501 U.S. 560, 566 (1991).2 Plaintiffs’
        argument is that simply wearing what they refer to as bikinis
        is itself sufficiently expressive to warrant First Amendment
        protection, and that the City’s new ordinance and
        amendments therefore impermissibly burden their speech.


             1
              We have considered all of plaintiffs’ diverse messages. For brevity,
        we refer to the baristas’ intended messages as those “relating to
        empowerment and confidence” throughout this opinion, recognizing that
        each individual barista’s intended message is likely somewhat unique.
             2
              Nude dancing and erotic performances are subject to Everett’s pre-
        existing ordinances regulating “public places of adult entertainment.” See
        EMC § 5.120. These regulations require adult entertainment businesses
        to obtain licenses and adhere to standards of conduct and operations,
        among other restrictions. See EMC §§ 5.120.030; 5.120.070. Everett’s
        zoning ordinances also restrict the location of adult businesses, excluding
        them from operating within the downtown core. See id. §§ 19.05.090;
        19.05 Table 5.2.
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            The City disputes the baristas’ premise that the act of
        wearing pasties and g-strings at work constitutes speech. The
        City also offers extensive evidence of adverse secondary
        effects associated with the stands, including prostitution and
        sexual violence, and argues that the new ordinance and Lewd
        Conduct Amendments are aimed at those effects.

            Plaintiffs’ motion for a preliminary injunction alleged that
        the new measures are impermissibly vague because they use
        ambiguous language to define parts of the body that must be
        covered by employees, owners, and operators of barista
        stands, and that a person of ordinary intelligence is denied a
        reasonable opportunity to know what conduct the City now
        prohibits. The City’s opposition denied that the text of the
        Dress Code Ordinance and Lewd Conduct Amendments is
        vague or ambiguous, but the City voluntarily agreed to
        suspend enforcement of the new measures pending resolution
        of plaintiffs’ motion for a preliminary injunction.

                      III. The Preliminary Injunction

            In Winter v. Natural Resources Defense Council, the
        Supreme Court held that a plaintiff seeking a preliminary
        injunction must establish “[(1)] that he is likely to succeed on
        the merits, [(2)] that he is likely to suffer irreparable harm in
        the absence of preliminary relief, [(3)] that the balance of
        equities tips in his favor, and [(4)] that an injunction is in the
        public interest.” Coffman v. Queen of Valley Med. Ctr.,
        895 F.3d 717, 725 (9th Cir. 2018) (quoting Winter v. Nat.
        Res. Def. Council, Inc., 555 U.S. 7, 20 (2008)) (alterations in
        original). “Likelihood of success on the merits is the most
        important factor; if a movant fails to meet this threshold
        inquiry, we need not consider the other factors.” California
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        v. Azar, 911 F.3d 558, 575 (9th Cir. 2018) (internal quotation
        marks omitted).

            The district court applied the Winter factors and
        concluded that plaintiffs had demonstrated a likelihood of
        success on the merits of their vagueness challenges. The
        court expressed concern that the compound term “anal cleft”
        in the definition of “lewd act” is vague, and also ruled that
        both ordinances are susceptible to “arbitrary enforcement.”
        Separately, the court concluded that plaintiffs had established
        a likelihood of success on the merits of their First
        Amendment free expression challenge to the Dress Code
        Ordinance, a ruling based on the court’s conclusion that the
        act of wearing pasties and g-strings at Quick-Service
        Facilities was sufficiently expressive to merit constitutional
        protection.

           The district court decided that plaintiffs had satisfied the
        remaining Winter factors, see 555 U.S. at 7, and enjoined
        enforcement of the new ordinances and amendments.

                         IV. Standard of Review

             We review the district court’s order granting a
        preliminary injunction “for an abuse of discretion,” Gorbach
        v. Reno, 219 F.3d 1087, 1091 (9th Cir. 2000) (en banc), but
        “legal issues underlying the injunction are reviewed de novo
        because a district court would necessarily abuse its discretion
        if it based its ruling on an erroneous view of law.” Adidas
        Am., Inc. v. Sketchers USA, Inc., 890 F.3d 747, 753 (9th Cir.
        2018) (quoting GoTo.com, Inc. v. Walt Disney Co., 202 F.3d
        1199, 1204 (9th Cir. 2000)). When an injunction involves a
        First Amendment challenge, constitutional questions of fact
        (such as whether certain restrictions create a severe burden on
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        an individual’s First Amendment rights) are reviewed
        de novo. See Prete v. Bradbury, 438 F.3d 949, 960
        (9th Cir. 2006) (citing Planned Parenthood of the
        Columbia/Willamette, Inc. v. Am. Coal. of Life Activists,
        290 F.3d 1058, 1070 (9th Cir. 2002)).

                   V. The Lewd Conduct Amendments

           We first analyze the Lewd Conduct Amendments, which
        expanded the definition of “lewd act” and also created the
        misdemeanor offense of Facilitating Lewd Conduct.

            “It is a basic principle of due process that an enactment is
        void for vagueness if its prohibitions are not clearly defined.”
        Grayned v. City of Rockford, 408 U.S. 104, 108 (1972). That
        said, we recognize that “[c]ondemned to the use of words, we
        can never expect mathematical certainty from our language.”
        Id. at 110. To put a finer point on it: “perfect clarity and
        precise guidance have never been required even of
        regulations that restrict expressive activity.” United States v.
        Williams, 553 U.S. 285, 304 (2008) (quoting Ward v. Rock
        Against Racism, 491 U.S. 781, 794 (1989)).

            The vagueness doctrine incorporates two related
        requirements. First, “laws [must] give the person of ordinary
        intelligence a reasonable opportunity to know what is
        prohibited, so that he may act accordingly.” Grayned, 408
        U.S. at 108. Typically, all that is required to satisfy this due
        process concern is “‘fair notice’ of the conduct a statute
        proscribes.” Sessions v. Dimaya, 138 S. Ct. 1204, 1212
        (2018). But “where [F]irst [A]mendment freedoms are at
        stake, an even greater degree of specificity and clarity of laws
        is required,” Kev, Inc. v. Kitsap Cty., 793 F.2d 1053, 1057
        (9th Cir. 1986) (citing Grayned, 408 U.S. at 108–09), and
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        courts ask whether language is sufficiently murky that
        “speakers will be compelled to steer too far clear of any
        forbidden area[s.]” Nat’l Endowment for the Arts v. Finley,
        524 U.S. 569, 588 (1996) (internal quotation marks omitted).
        This enhanced standard protects against laws and regulations
        that might have the effect of chilling protected speech or
        expression by discouraging participation.

             The vagueness doctrine’s second requirement aims to
        avoid “arbitrary and discriminatory enforcement,” and
        demands that laws “provide explicit standards for those who
        apply them.” Grayned, 408 U.S. at 108. A law that relies on
        a subjective standard—such as whether conduct amounts to
        an “annoyance”—is constitutionally suspect. See id. at 113.
        In Coates v. Cincinnati, 402 U.S. 611, 614 (1971), for
        example, an ordinance was deemed unconstitutionally vague
        because it criminalized the assembly of three or more persons
        on city sidewalks if they conducted themselves in a manner
        annoying to passers by. The Supreme Court observed that
        “[c]onduct that annoys some people does not annoy others,”
        id., and it struck down the ordinance because “men of
        common intelligence must necessarily guess at its meaning.”
        Id. (quoting Connally v. Gen. Constr. Co., 269 U.S. 385, 391
        (1926)).

            Here, the district court concluded that the amended
        definition of “lewd act” similarly fails to give a person of
        ordinary intelligence a reasonable opportunity to conform his
        or her conduct to the City’s law. The court explained that it
        was “uncertain as to the meaning of the compound term ‘anal
        cleft’ as used” in the amended definition, because “[t]he term
        ‘bottom one-half of the anal cleft’ is not well-defined or
        reasonably understandable[.]” We reach the opposite
        conclusion. Having examined the text adopted by the City,
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        we are not persuaded that the public will be left to guess at
        the meaning of the term “anal cleft,” particularly because the
        meanings of both “anal” and “cleft” are easily discerned
        through recourse to a common dictionary. See, e.g., United
        States v. Wyatt, 408 F.3d 1257, 1261 (9th Cir. 2005) (relying
        in part on the dictionary definition of an allegedly ambiguous
        term); Kev, Inc., 793 F.2d at 1057 (same).3 Moreover, “[t]his
        circuit has previously recognized that otherwise imprecise
        terms may avoid vagueness problems when used in
        combination with terms that provide sufficient clarity.”
        Gammoh v. City of LaHabra, 395 F.3d 1114, 1120 (9th Cir.
        2005) (citing Kev, Inc., 793 F.2d at 1057). The Lewd
        Conduct Ordinance uses the term “anal cleft” in near
        proximity to a list of other intimate body parts. Viewing
        these facts together, we conclude that a person of ordinary
        intelligence reading the ordinance in its entirety will be
        adequately informed about what body areas cannot be
        exposed or displayed “in a public place or under
        circumstances where such act is likely to be observed by any
        member of the public.” EMC § 10.24.020. Likewise, we
        conclude that the modifier “bottom one-half” does no more
        than specify an easily ascertained fractional part of an
        otherwise well-understood area of the body. Plaintiffs do not
        expressly challenge the new misdemeanor Facilitating Lewd
        Conduct on vagueness grounds, but we note that this
        provision does no more than prohibit owners, operators,
        lessors, lessees or any person “in charge of a public place”

            3
               Merriam-Webster defines “anal” as “of, relating to, situated near,
        or involving the anus” and defines “cleft” as “a space or opening made by
        or as if by splitting.” (emphasis added). It goes on to identify the phrase
        “the anal cleft of the human body” as an example. See Merriam-Webster
        Online Dictionary, www.merriam-webster.com/dictionary/cleft (last
        visited June 25, 2019). We agree with the City that “[t]here is only one
        possible portion of the human body that fits this description.”
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        from knowingly permitting, or causing another person to
        commit lewd conduct as defined in EMC § 10.24.010. This
        prohibition is clear, as is the definition of lewd conduct. We
        therefore hold that the activity the Lewd Conduct
        Amendments prohibit is reasonably ascertainable to a person
        of ordinary intelligence.4

            The second part of the vagueness test concerns whether
        the Lewd Conduct Amendments are amenable to unchecked
        law enforcement discretion. See, e.g., Papachristou v. City
        of Jacksonville, 405 U.S. 156, 169–70 (1972).5 Definitions of
        proscribed conduct that rest wholly or principally on the


             4
              The district court did not analyze whether any term other than “anal
        cleft” is reasonably ascertainable to a person of ordinary intelligence, and
        we decline to do so in the first instance.
             5
               The Jacksonville, Florida ordinance at issue in Papachristou deemed
        the following people “vagrants” and therefore guilty of a criminal offense:

                 Rogues and vagabonds, or dissolute persons who go
                 about begging, common gamblers, persons who use
                 juggling or unlawful games or plays, common
                 drunkards, common night walkers, thieves, pilferers or
                 pickpockets, traders in stolen property, lewd, wanton
                 and lascivious persons, keepers of gambling places,
                 common railers and brawlers, persons wandering or
                 strolling around from place to place without any lawful
                 purpose or object, habitual loafers, disorderly persons,
                 persons neglecting all lawful business and habitually
                 spending their time by frequenting houses of ill fame,
                 gaming houses, or places where alcoholic beverages are
                 sold or served, persons able to work but habitually
                 living upon the earnings of their wives or minor
                 children[.]

        Papachristou, 405 U.S. at 156 n.1.
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        subjective viewpoint of a law enforcement officer run the risk
        of unconstitutional murkiness. See, e.g., Gammoh, 395 F.3d
        at 1119–20 (collecting cases); Tucson Woman’s Clinic v.
        Eden, 379 F.3d 531, 554–55 (9th Cir. 2004). Everett’s
        definition of lewd conduct requires that certain areas of the
        body be covered in public and as we have explained, the
        definition is not ambiguous. Nor does the definition rely on
        the subjective assessment of an enforcing officer. The term
        “anal cleft” is clear and ascertainable and what constitutes the
        “bottom half” of this unambiguously described part of the
        human body is also an objective standard. In short, EMC
        § 10.24.010’s description of the body parts that must be
        covered in public does not create a constitutional problem by
        inviting discretionary enforcement because there are
        “standards governing the exercise of the discretion granted by
        the ordinance[.]” Papachristou, 405 U.S. at 170.

            Plaintiffs argue that there will be close cases requiring
        some degree of law enforcement subjectivity when the Lewd
        Conduct Amendments are enforced, and the district court
        shared this concern. But “the mere fact that close cases can
        be envisioned” does not render an otherwise permissible
        statute unconstitutionally vague. Williams, 553 U.S. at 305.
        The Supreme Court has observed in other criminal contexts
        that close cases are addressed “not by the doctrine of
        vagueness, but by the requirement of proof beyond a
        reasonable doubt.” Id. at 306. Put another way, in close
        cases, a fact finder will decide whether the City has met its
        burden by the required standard of proof. That determination
        does not raise constitutional vagueness concerns so long as
        the legal standard against which it is measured is sufficiently
        clear. All a statute must define with specificity is what the
        fact finder is required to decide in any given case. See id.
        (“What renders a statute vague is not the possibility that it
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        will sometimes be difficult to determine whether the
        incriminating fact it establishes has been proved; but rather
        the indeterminacy of precisely what that fact is.” (emphasis
        added)).

            The district court abused its discretion by ruling that
        plaintiffs are likely to succeed on the merits of their void-for-
        vagueness challenge to the Lewd Conduct Amendments. We
        therefore vacate the district court’s preliminary injunction
        with respect to the Lewd Conduct Amendments.

                      VI. The Dress Code Ordinance

            We next consider the district court’s order enjoining
        enforcement of the Dress Code Ordinance. EMC § 5.132.030
        mandates that employees, operators, and owners of “Quick-
        Service Facilities” comply with the City’s dress requirement.
        The Dress Code Ordinance makes it unlawful to serve
        customers or operate a Quick-Service Facility if “minimum
        body areas” of the owner or any employee are not covered.
        EMC § 5.132.030. “Minimum body areas” are defined as:
        “breast/pectorals, stomach, back below the shoulder blades,
        buttocks, top three inches of legs below the buttocks, pubic
        area and genitals.” EMC § 5.132.020(B). The district court
        enjoined the Dress Code Ordinance for two distinct reasons:
        (1) the court concluded that the Dress Code Ordinance’s
        susceptibility to arbitrary enforcement renders it
        unconstitutionally vague; and (2) the district court concluded
        that the Dress Code Ordinance likely fails First Amendment
        review because it impermissibly burdens plaintiffs’ rights to
        free expression. We address each rationale in turn.
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           A. Vagueness

            The vagueness principles governing our analysis of the
        Lewd Conduct Amendments apply with equal force to the
        Dress Code Ordinance. The fact that law enforcement may
        have to make some close judgment calls regarding
        compliance with these provisions does not, perforce, mean
        that police are vested with impermissibly broad discretion.
        See Williams, 553 U.S. at 306. The terms of the Dress Code
        Ordinance are sufficiently clear to preclude enforcement on
        “an ad hoc and subjective basis” because the dress
        requirement clearly defines areas of the body that owners and
        employees must cover while operating Quick-Service
        Facilities, using commonly understood names for those body
        areas. Hunt v. City of L.A., 638 F.3d 703, 712 (9th Cir. 2011).
        Enforcement does not require subjective judgments. Id. All
        an officer must determine is whether the upper body
        (specifically, the breast/pectorals, stomach, back below the
        shoulder blades) and lower body (the buttocks, top three
        inches of legs below the buttocks, pubic area and genitals) are
        covered. The meaning of these parts of the body is not
        beyond the common experience of an ordinary layperson, and
        the ordinance does not require that officers assessing
        potential violations delve into subjective questions. Cf. id.
        (observing that what constitutes a “religious, political,
        philosophical, or ideological” message is subjective).
        Because the Dress Code Ordinance is not open to the kind of
        arbitrary enforcement that triggers due process concerns, the
        vagueness doctrine does not warrant an injunction prohibiting
        enforcement of the Dress Code Ordinance.
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             B. Free Expression

            The district court also concluded that plaintiffs
        demonstrated a likelihood of success on the merits of their
        First Amendment challenge to the Dress Code Ordinance.
        This part of the court’s order relied on its determination that
        the baristas’ choice to wear provocative attire (pasties and g-
        strings) constituted sufficiently expressive conduct to warrant
        First Amendment protection, that the Dress Code Ordinance
        amounted to a content-neutral restriction on the baristas’
        speech, and that the Dress Code Ordinance failed
        intermediate scrutiny under the “secondary effects” line of
        cases. See City of Renton v. Playtime Theatres, Inc., 475 U.S.
        41, 48 (1986) (applying intermediate scrutiny to ordinances
        aimed at combating the side-effects of adult and sexually
        oriented businesses).

            “The First Amendment literally forbids the abridgment
        only of ‘speech,”’ but the United States Supreme Court has
        “long recognized that its protection does not end at the
        spoken or written word.” Texas v. Johnson, 491 U.S. 397,
        404 (1989). The Supreme Court refers to non-speech activity
        that is within the ambit of the First Amendment’s protections
        as “expressive conduct.” See, e.g., Clark v. Cmty. for
        Creative Non-Violence, 468 U.S. 288, 293 (1984). Conduct
        that is “sufficiently imbued with elements of communication”
        is protected by the First Amendment, Johnson, 491 U.S. at
        404 (quoting Spence v. Washington, 418 U.S. 405, 409 (1974)
        (per curiam)), but the Court “has consistently rejected ‘the
        view that an apparently limitless variety of conduct can be
        labeled ‘speech’ whenever the person engaging in the conduct
        intends thereby to express an idea.’” Anderson v. City of
        Hermosa Beach, 621 F.3d 1051, 1058 (9th Cir. 2010)
        (quoting United States v. O’Brien, 391 U.S. 367, 376 (1968)).
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        The Court has never “invalidated the application of a general
        law simply because the conduct that it reached was being
        engaged in for expressive purposes and the government could
        not demonstrate a sufficiently important state interest.”
        Barnes, 501 U.S. at 577 (Scalia, J., concurring). “Because
        the Court has eschewed a rule that ‘all conduct is
        presumptively expressive,’ individuals claiming the
        protection of the First Amendment must carry the burden of
        demonstrating that their nonverbal conduct meets the
        applicable standard.” Knox v. Brnovich, 907 F.3d 1167, 1181
        (9th Cir. 2018) (quoting Clark, 468 U.S. at 293 n.5).

            Expressive conduct is characterized by two requirements:
        (1) “an intent to convey a particularized message” and (2) a
        “great” “likelihood . . . that the message would be understood
        by those who viewed it.” Johnson, 491 U.S. at 404 (quoting
        Spence, 418 U.S. at 410–11); see also Vivid Entm’t, LLC v.
        Fielding, 774 F.3d 566, 579 (9th Cir. 2014). With respect to
        the first requirement—an intent to convey a particularized
        message—First Amendment protection is only granted to the
        act of wearing particular clothing or insignias where
        circumstances establish that an unmistakable communication
        is being made. See, e.g., Nat’l Socialist Party of Am. v.
        Village of Skokie, 432 U.S. 43 (1977) (per curiam) (declining
        to enjoin Nazi marchers from wearing symbols of ideology in
        parade); Cohen v. California, 403 U.S. 15, 18 (1971)
        (concluding that a person wearing a jacket bearing the
        inscription “F— the Draft” was entitled to First Amendment
        protections); Tinker v. Des Moines Indep. Cmty. Sch. Dist.,
        393 U.S. 503, 505–06 (1969) (holding that students who wore
        black armbands to protest Vietnam War engaged in
        expressive conduct “‘closely akin to pure speech[.]’”).
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            Even if plaintiffs could show that their intent is to convey
        a particularized message, and thereby satisfy the first
        requirement for classification as expressive conduct, Johnson,
        491 U.S. at 404, plaintiffs’ First Amendment claim falters for
        failure to show a great likelihood that their intended message
        will be understood by those who receive it. See id.

            Context is everything when deciding whether others will
        likely understand an intended message conveyed through
        expressive conduct. To decide whether the public is likely to
        understand the baristas’ intended messages related to
        empowerment and confidence, we consider “the surrounding
        circumstances[.]” Spence, 418 U.S. at 411. The Supreme
        Court made this clear in Spence, where a college student
        displayed a flag with an attached peace symbol from his
        university dorm room “roughly simultaneous with” the
        United States’ invasion of Cambodia and the Kent State
        shootings. Id. at 410. Under these circumstances, the
        Supreme Court observed that “it would have been difficult for
        the great majority of citizens to miss the drift of [the
        student’s] point at the time that he made it.” Id. Likewise,
        the choice to wear military medals—even medals one has not
        earned—“communicates that the wearer was awarded that
        medal and is entitled to the nation’s recognition and gratitude
        ‘for acts of heroism and sacrifice in military service.’”
        United States v. Swisher, 811 F.3d 299, 314 (9th Cir. 2016)
        (en banc) (quoting United States v. Alvarez, 567 U.S. 709,
        724 (2012) (Kennedy, J., plurality opinion)). In the same
        way, a student group’s choice to wear black arm bands to
        school during the 1965 holiday season was protected by the
        First Amendment because the group’s intended anti-Vietnam
        War message “was closely akin to ‘pure speech[.]’” Tinker,
        393 U.S. at 505.
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            The context here is starkly different from cases where
        First Amendment protection has been extended to expressive
        clothing or symbols. The Dress Code Ordinance applies at
        Quick-Service Facilities—coffee stands, fast food restaurants,
        delis, food trucks, coffee shops and drive-throughs. See EMC
        § 5.132.020(C). In other words, it applies at retail
        establishments that invite commercial transactions, and in
        these transactions, the baristas undisputedly solicit tips. The
        baristas’ act of wearing pasties and g-strings in close
        proximity to paying customers creates a high likelihood that
        the message sent by the baristas’ nearly nonexistent outfits
        vastly diverges from those described in plaintiffs’
        declarations. The commercial setting and close proximity to
        the baristas’ customers makes the difference.

            Because plaintiffs have not demonstrated a “great
        likelihood” that their intended messages related to
        empowerment and confidence will be understood by those
        who view them, we conclude that the mode of dress at issue
        in this case is not sufficiently communicative to merit First
        Amendment protection.

            We stress that plaintiffs deny that they engage in nude
        dancing and erotic performances, thereby disavowing the
        First Amendment protections available for that conduct. See
        Barnes, 501 U.S. at 566. The outcome of this case turns on
        the plaintiffs’ contention that the act of wearing almost no
        clothing while serving coffee in a retail establishment
        constitutes speech. Because wearing pasties and g-strings
        while working at Quick-Service Facilities is not “expressive
        conduct” within the meaning of the First Amendment, the
        Dress Code Ordinance does not burden protected expression.
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             The district court’s application of intermediate scrutiny
        under the “secondary effects” line of authority was inapposite
        because that doctrine applies to regulations that burden
        speech within the ambit of the First Amendment’s sphere of
        protection. See World Wide Video of Wash., Inc. v. City of
        Spokane, 368 F.3d 1186, 1192 (9th Cir. 2004). Here, because
        the Dress Code Ordinance does not burden expressive
        conduct protected by the First Amendment, the City need
        only demonstrate that it “promotes a substantial government
        interest that would be achieved less effectively absent the
        regulation.” Rumsfeld v. Forum for Acad. & Institutional
        Rights, Inc., 547 U.S. 47, 67 (2006) (quoting United States v.
        Albertini, 472 U.S. 675, 689 (1985)). The district court did
        not analyze the ordinance under this framework, so we vacate
        its preliminary injunction and remand for further proceedings.

             VACATED AND REMANDED.
